                           EXHIBIT F




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                                                                        Page 1
                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS




IN RE:                               )
                                     ) CA No. 04-10981-PBS
NEURONTIN MARKETING, SALES PRACTICES,) Pages 1 - 107
AND PRODUCTS LIABILITY LITIGATION    )




                 FINAL PRETRIAL CONFERENCE - DAY ONE

                 BEFORE THE HONORABLE PATTI B. SARIS
                    UNITED STATES DISTRICT JUDGE




                                       United States District Court
                                       1 Courthouse Way, Courtroom 19
                                       Boston, Massachusetts
                                       July 20, 2009, 9:15 a.m.




                            LEE A. MARZILLI
                        OFFICIAL COURT REPORTER
                      United States District Court
                      1 Courthouse Way, Room 7200
                           Boston, MA 02210
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                                                                            Page 13
 1                  MR. CHEFFO:     Lloyd Knapp, your Honor.

 2                  THE COURT:     Lloyd Knapp.      Are you bringing him in

 3   as part of your case?

 4                  MR. CHEFFO:     He's listed as a witness.          Ultimately

 5   whether he comes --

 6                  THE COURT:     All right, so you may have to put it

 7   in through deposition testimony.

 8                  MR. FROMSON:      Your Honor, not only was he listed

 9   as a witness, he was listed as a live witness, and he

10   offered --

11                  THE COURT:     But they don't have to put on people.

12   You both listed lots of people.            So if I were you, I would

13   read his deposition in, or put in admissions, or do what you

14   need to do.      Okay?

15                  MR. FROMSON:      Well, yes, your Honor.         Yes, your

16   Honor.

17                  THE COURT:     There are a huge number of macro

18   issues that you do need to know before you go into the

19   closing statement.        The first is -- do you have any

20   particular order you want to go through them?                Do you want

21   to each take one that you care a lot about, and we'll go

22   back and forth?

23                  MR. CHEFFO:     From my perspective, I think we'd be

24   guided by the Court, whatever --

25                  THE COURT:     All right, a few things:          The

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 1   plaintiffs will be allowed to introduce evidence about a

 2   national marketing campaign.           That is relevant to not only

 3   the issue of intent -- is fraud still part of this,

 4   intentional --

 5                  MR. FROMSON:      Yes, your Honor.

 6                  MR. FINKELSTEIN:       Yes.

 7                  THE COURT:     -- as well as the duty to understand

 8   that this was being nationally marketed for off-label in

 9   areas that were not just epilepsy.             I think that's very

10   important, and I think the probative value substantially

11   outweighs the prejudicial value.

12                  MR. CHEFFO:     Your Honor, may I just --

13                  THE COURT:     Yes.

14                  MR. CHEFFO:     They answered "yes" very quickly, but

15   your order on the fraud, this is, I think --

16                  THE COURT:     It's fraud by omission.

17                  MR. CHEFFO:     That's correct, but what your Honor

18   did say was, "The motions to dismiss the fraudulent

19   concealment claims are denied in all the complaints, except

20   to the extent that they are premised on the claim of

21   fraudulent omissions in the national advertising and

22   marketing campaign."         So it's our position, your Honor, that

23   you did rule on that with respect to national marketing.

24   And I would also just add --

25                  THE COURT:     It goes to corporate intent, the

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